
46 So.3d 1119 (2010)
A.S., Appellant,
v.
STATE of Florida, Appellee.
No. 2D09-537.
District Court of Appeal of Florida, Second District.
October 29, 2010.
James Marion Moorman, Public Defender, and Douglas S. Connor, Assistant Public Defender, Bartow, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Diana K. Bock, Assistant Attorney General, Tampa, for Appellee.
*1120 WALLACE, Judge.
A.S. challenges her adjudication of delinquency for first-degree arson. We affirm the adjudication of delinquency and the disposition order without comment. However, we remand the case to the circuit court for the correction of an order transferring A.S.'s case to Lee County. Although A.S. pleaded not guilty, the transfer order recites that she entered a guilty plea. On remand, the circuit court shall correct the transfer order to reflect A.S.'s plea of not guilty and the finding of guilty after a trial.
Affirmed; remanded with directions.
ALTENBERND and LaROSE, JJ., Concur.
